          Case 1:21-mc-00813-AT Document 13 Filed 11/15/21 Page 1 of 5




                                                                                        CALLI LAW, LLC
                                                                            One Flagler Building, Suite 1100
                                                                                    14 Northeast 1st Avenue
                                                                                      Miami, Florida 33132
                                                                                            T. 786.504.0911
                                                                                            F. 786.504.0912
                                                                                         www.calli-law.com
                                      November 15, 2021


BY EMAIL

Honorable Analisa Torres
United States District Court
Southern District of New York
500 Pearl Street
New York, NY 10007

       Re:    In re Search Warrant dated November 5, 2021, 21 MAG 10685 (AT)

Dear Judge Torres:

        Government leaks plague the government’s diary investigation. The government’s leaks
place at risk the attorney-client privileged materials and First Amendment-protected
newsgathering, source, and donor information found on the cellphones that the government seized
from journalist James O’Keefe. On November 12, 2021, the New York Times published several
Project Veritas legal compliance memoranda authored by Project Veritas’s outside counsel. We
believe these attorney-client privileged memoranda were on Mr. O’Keefe’s seized phones.
Additionally, the government previously leaked information about its diary investigation and
Project Veritas to the New York Times. The government’s prior leaks demonstrate that our concern
about whether the government will respect Project Veritas’s privileges is not speculative; it is
concrete. We request that the Court direct the government to:

              (1) Inform the Court if the government – including the FBI or any other
              governmental agency– leaked Project Veritas’s attorney-client privileged
              memoranda to the New York Times;

              (2) Identify who at the government is responsible for the previous leaks
              about Project Veritas and the government’s diary investigation to the New
              York Times; and

              (3) Confirm the foregoing on the record.

   The Attorney-Client Privileged Compliance Memoranda Leaked to New York Times

        On November 11, 2021, this Court issued an order at 2:13 PM requiring the government to
confirm by November 12, 2021 that it had “paused its extraction and review of the contents of
Petitioner O’Keefe’s phones.” Within hours, New York Times reporters Michael Schmidt, Adam


                                               1
          Case 1:21-mc-00813-AT Document 13 Filed 11/15/21 Page 2 of 5




Goldman, and Mark Mazzetti published an article publicly revealing attorney-client privileged
communications between news outlet Project Veritas (of which James O’Keefe is founder and
President) and its outside counsel (who are among the signatories to the November 10, 2021
Motion to Appoint a Special Master pending before this Court). These compliance memoranda
provide legal guidance about which investigative journalism practices are permissible, and which
are impermissible, under relevant federal statutes.

        We believe these compliance memoranda were on one of the cellphones that the
government seized from Mr. O’Keefe. We know that the government previously leaked
information about Project Veritas and the government’s diary investigation to the New York
Times. These facts compel us to request that the Court require the government to inquire of those
at the United State Attorney’s Office, the FBI and any other law enforcement agency involved in
the diary investigation to confirm on the record that the government was not (or was) the source
of the leaked attorney-client privileged materials to the New York Times.

        Our concern about such leaks is heightened because the New York Times is Project
Veritas’s adversary in pending civil litigation – Project Veritas sued the New York Times in
Supreme Court, Westchester County, and has defeated the New York Times’ motion to dismiss.
See Project Veritas v. New York Times Co., Case No. 63921/2020, 2021 WL 2395290 (N.Y. Sup.
March 18, 2021) (Wood, J.) (order denying New York Times’ motion to dismiss). The leak of
attorney-client privileged materials seized while executing a search warrant at the home of a
journalist is egregious. Leaking those attorney-client privileged materials to a party’s adversary
shocks the conscience. It is vital that the Court require the government to investigate and confirm
whether anyone employed by or associated with the government leaked such materials and violated
Project Veritas’s privileges.

   The Risks are Not Speculative, The Risks are Concrete: Someone at the Government
    Previously Leaked Information about Project Veritas and the Government’s Diary
                          Investigation to the New York Times

        The government leaked news about the execution of its diary investigation search warrants
to the New York Times. On November 4, 2021, at about the same time that FBI agents finished
searching the home of a former Project Veritas journalist, a New York Times reporter contacted
one of the former journalists and sent the following inquiry to Mr. O’Keefe:

                          [Remainder of Page Intentionally Left Blank]




                                                2
          Case 1:21-mc-00813-AT Document 13 Filed 11/15/21 Page 3 of 5




        When the New York Times ran a story about the November 4, 2021 searches, it included
information that could only have come from someone at the government under the cone of secrecy
attendant to any grand jury investigation, stating, “The Trump administration Justice Department,
then led by Attorney General William P. Barr, opened an investigation into the matter shortly after
a representative of the Biden family reported to federal authorities in October 2020 that several of
Ms. Biden’s personal items had been stolen in a burglary, according to two people briefed on the
matter.” See Michael Schmidt et al., People Tied to Project Veritas Scrutinized in Theft of Diary
from     Biden’s      Daughter,     N.Y.      TIMES,      Nov.      5,    2021,    available      at
https://www.nytimes.com/2021/11/05/us/politics/project-veritas-investigation-ashley-biden-
diary.html.

        The government also leaked to the New York Times the news of the search warrant it
executed at Mr. O’Keefe’s home. Shortly after execution of that warrant, Mr. O’Keefe received
the following message from Michael Schmidt, a New York Times reporter:




     Notably, the reporters who published the government’s prior leaks, Michael Schmidt and
Adam Goldman, are the same reporters who published Project Veritas’s privileged compliance
memoranda on November 11, 2021 after this Court issued its order.

                                                 3
          Case 1:21-mc-00813-AT Document 13 Filed 11/15/21 Page 4 of 5




                                           Conclusion

        The New York Times’ repeated use of information demonstrably leaked to it by the
government renders the New York Times little more than the government’s press secretary. While
the New York Times itself may refuse to admit the source of Project Veritas’s leaked attorney-
client privileged compliance memoranda because the three operatives writing the “news” stories
are “journalists” obliged to protect their “sources,” it is the government to whom the Court should
pose the important question as to who leaked such materials to the New York Times.

       James O’Keefe and Project Veritas request entry of an order requiring the government to:
(1) inquire and confirm on the record whether someone employed by or associated with the
government leaked Project Veritas’s attorney-client privileged memoranda to the New York Times
(regardless of whether that person is someone at the United States Attorney’s Office, the FBI, or
another governmental agency involved in the government’s diary investigation); and (2) provide
the identity of the source who previously leaked information Project Veritas to the New York
Times.


                                                     By:      /s/ Paul A. Calli
                                                            Paul A. Calli
                                                            Florida Bar No. 994121
                                                            Chas Short
                                                            Florida Bar No. 70633
                                                            CALLI LAW, LLC
                                                            14 NE 1st Ave, Suite 1100
                                                            Miami, FL 33132
                                                            Telephone: (786) 504-0911
                                                            Facsimile (786) 504-0912
                                                            PCalli@Calli-Law.com
                                                            CShort@Calli-Law.com

                                                            Pro Hac Vice Motions Pending



                                                    By: s/ Harlan Protass
                                                        Harlan Protass
                                                        PROTASS LAW PLLC
                                                        260 Madison Avenue, 22nd Floor
                                                        New York, NY 10016
                                                        Telephone: 212-455-0335
                                                        hprotass@protasslaw.com
 /s/ Benjamin T. Barr                                      /s/ Stephen R. Klein
 Benjamin Barr                                             Stephen R. Klein
 BARR & KLEIN PLLC                                         Bar No. 177056


                                                4
         Case 1:21-mc-00813-AT Document 13 Filed 11/15/21 Page 5 of 5




 444 N. Michigan Avenue Ste. 1200               BARR & KLEIN PLLC
 Chicago, IL 60611                              1629 K St. N.W., Ste. 300
 Telephone: (202) 595-4671                      Washington, DC 20006
 Ben@barrklein.com                              Telephone: (202) 804-6676
                                                steve@barrklein.com



Pro Hac Vice Motion to Be Filed Forthwith




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